    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 1 of 9 PageID #:557




                           UNITED STATES DISTRICT COURT
                         THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



ANNA MELIS,                                        Case No. 1:25-cv-03991

                      Plaintiff,                   Judge: Hon. John J. Tharp, Jr.

    v.                                             Magistrate Judge: Hon. Heather K. McShain.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                      Defendants.


                   DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
               MOTION FOR ENTRY OF A PRELIMINARY INJUNCTION

         Without waving their jurisdictional defenses under Rule 12(b), thirteen Defendants

CHUONI Co. Ltd (Def. No. 130), PINGXIAO Co.Ltd (Def. No. 131), WEIRUN Co.Ltd (Def.

No. 132), YUNJIN Co.Ltd (Def. No. 133), QIANSHAN Co.Ltd (Def. No. 134), HENGPING

Co. Ltd (Def. No. 135), LINGYANG Co.Ltd (Def. No. 137), LONGSHI Co.Ltd (Def. No. 138),

LIQUAN Co.Ltd (Def. No. 139), QUANLONG Co.Ltd (Def. No. 141), SHUNDONG Co.Ltd

(Def. No. 142), ZUOYU Co.Ltd (Def. No. 143), FANGLIU Co. Ltd (Def. No. 144)

(collectively ”Defendants”), respectfully submit their Opposition to Plaintiff’s Motion for Entry

of a Preliminary Injunction. [Dkt. No. 27].




                                               1
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 2 of 9 PageID #:558




                                        INTRODUCTION

       Contrary to Plaintiff’s claim, a preliminary injunction against Defendants is neither

necessary nor appropriate in the present case.

       First, the record shows that Plaintiff delayed nearly five months after collecting evidence

of alleged infringement, and before seeking a temporary restraining order — an unjustified lapse

of time that belies any claim of immediate, irreparable harm.

       Moreover, about half of Defendants’ Walmart seller accounts were already terminated

prior to Plaintiff’s filing for injunctive relief, eliminating any possibility that those Defendants

could continue the alleged infringement. For all Defendants, the specific Accused Product

listings have been removed or discontinued, further negating the premise of any ongoing harm.

       Further, Defendants were merely “piggyback sellers” under existing Walmart listings.

They neither created nor edited the now-removed product listings. Defendants also agreed not to

offer, list, or sell any allegedly infringing, further negating any claim of irreparable harm.

       Second, compounding these factors is that each Defendant had minimal or zero revenue

from sales of the Accused Products, yet Plaintiff seeks to freeze the entirety of Defendants’ funds.

The well-settled precedent in this District and by the Supreme Court dictates that prejudgment

asset freezes should be limited to the amount necessary to protect a genuine claim for equitable

monetary relief. Here, any equitable accounting would be close to negligible or zero. Defendants

have thus far been effectively barred from accessing their business revenues, even though no

connection exists between the restrained funds and the alleged infringement.

       For these reasons, and as set forth more fully below, Defendants respectfully request that

the Court deny Plaintiff’s Motion for Entry of a Preliminary Injunction. Additionally, Defendants

affirm they will not offer the Accused Products for sales.


                                                  2
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 3 of 9 PageID #:559




                               PROCEDURAL BACKGROUND

       On April 14, 2025, Plaintiff filed its Complaint against numerous defendants, including

Defendants, for copyright infringement. [Dkt. No. 1].

       On April 23, 2025, Plaintiff filed an ex parte Motion for entry of a temporary restraining

order, including a temporary injunction, a temporary asset restraint, expedited discovery, and

Service of Process by email and electronic publication. [Dkt. No. 17, 18]. The Court granted the

motion on April 25, 2025. [Dkt. No. 22].

       On May 5, 2025, Plaintiff filed a Motion for entry of a preliminary injunction order. [Dkt.

No. 27]. Per Court’s directory in Order issued on May 6, 2025, [Dkt. No. 30], Defendants jointly

submit this Opposition to Plaintiff’s Motion for entry of a preliminary injunction order.

                                     LEGAL STANDARDS

       A preliminary injunction is an extraordinary and drastic remedy that “should not be

granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

Armstrong, 520 U.S. 968, 972, 117 S. Ct. 1865, 138 L. Ed. 2d 162 (1997).

       “The party seeking such relief must show: (1) it has some likelihood of success on the

merits; (2) there is no adequate remedy at law; and (3) it will suffer irreparable harm if the court

denies relief.” JH v. P'ships & Unincorporated Ass'ns Identified on Schedule “A”, No. 24 C

7758, 2025 U.S. Dist. LEXIS 83662, at *12 (N.D. Ill. Apr. 29, 2025) (citing GEFT Outdoors,

LLC v. City of Westfield, 922 F.3d 357, 364 (7th Cir. 2019)). “The two most important

considerations are likelihood of success on the merits and irreparable harm.” Bevis v. City of

Naperville, 85 F.4th 1175, 1188 (7th Cir. 2023).




                                                 3
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 4 of 9 PageID #:560




                                          ARGUMENT
       A. Plaintiff’s prolonged delay in seeking injunctive relief and the termination of
          Defendant’s Walmart seller accounts demonstrate a lack of irreparable harm

       The Supreme Court has made clear that “[i]ssuing a preliminary injunction based only on

a possibility of irreparable harm is inconsistent with our characterization of injunctive relief as

an extraordinary remedy.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).

“A plaintiff’s delay in bringing suit undercuts its claim of irreparable harm.” High Tech Med.

Instrumentation, Inc. v. New Image Indus., Inc., 49 F.3d 1551, 1557 (Fed. Cir. 1995).

       The Seventh Circuit recognizes that Plaintiff’s delay, when coupled with speculative

harm, weighs heavily against the entry of injunctive relief. See Ty, Inc. v. Jones Group, Inc., 237

F.3d 891, 903 (7th Cir. 2001) (noting that delay in seeking injunctive relief weakens claims of

irreparable harm); see also Collectanea J. Ltd. v. P'ships & Unincorporated Ass’ns Identified on

Schedule A, No. 24 C 3821, 2024 U.S. Dist. LEXIS 195756, *21 (N.D. Ill. Oct. 29, 2024)

(citing Michigan v. U.S. Army Corps of Eng'rs, 667 F.3d 765, 788 (7th Cir. 2011)) (the

“irreparable harm [inquiry] takes into account how urgent the need for equitable relief really is.”);

Ixmation, Inc. v. Switch Bulb Co., No. 14 C 6993, 2014 U.S. Dist. LEXIS 150787, 2014 WL

5420273, at *7-8 (N.D. Ill. Oct. 23, 2014) (four-and-a-half month delay precluded finding of

irreparable harm); Silber v. Barbara's Bakery, Inc., 950 F. Supp. 2d 432, 441 (E.D.N.Y. 2013)

(five-month delay in seeking preliminary injunction after filing suit indicated that the plaintiff

faced no threat of irreparable harm because it “undermine[d] the sense of urgency that typically

accompanies a motion for preliminary injunction”); Playboy Enters. Inc. v. Netscape Commc'n.s

Corp., 55 F. Supp. 2d 1070, 1090 (C.D. Cal. 1999) (finding that a five-month delay in seeking

injunctive relief demonstrated a lack of irreparable harm).




                                                 4
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 5 of 9 PageID #:561




       First, the screenshots evidence purporting to show Defendants’ alleged infringement was

all taken on November 28, 2024 (See Exhibit 1), yet Plaintiff did not seek injunctive relief until

nearly five months later, on April 23, 2025 [Dkt. No. 17]. This unexplained and substantial delay

in time forecloses any claim of genuine “irreparability” or urgent need.

       Further, given that Plaintiff filed nine other Melis v. The Partnerships and Unincorporated

Associations actions between January 2025 and prior to filing this action, each enforcing at least

one of the same two copyrights at issue here — VA 2-403-958 and VA 2-403-828 — yet Plaintiff

did not include these Defendants in any of those proceedings. (See table below and Exhibit 2).

This omission further undercuts any claim of urgency or irreparable harm.

Date Filed           ILND Case #                       Copyrights at issue
01/15/2025           1:2025-cv-00436                   VA 2-403-958
01/15/2025           1:2025-cv-00437                   VA 2-403-958
01/16/2025           1:2025-cv-00511                   VA 2-403-958 & VA 2-403-828
01/16/2025           1:2025-cv-00515                   VA 2-403-828
02/05/2025           1:2025-cv-01248                   VA 2-403-828
02/06/2025           1:2025-cv-01295                   VA 2-403-958
02/06/2025           1:2025-cv-01311                   VA 2-403-828
04/14/2025           1:2025-cv-03826                   VA 2-403-958
04/14/2025           1:2025-cv-03987                   VA 2-403-958

       Second, “as a general rule, a defendant's ability to compensate plaintiff in money

damages precludes issuance of a preliminary injunction.” Equip. Leasing Grp. of Am., LLC v.

Pure Midstream, LLC, No. 1:23-cv-16099, 2024 U.S. Dist. LEXIS 183151, *18 (N.D. Ill. Oct. 7,

2024) (citing Signode Corp. v. Weld-Loc Systems, Inc., 700 F.2d 1108, 1111 (7th Cir.1983)).

When “there is no threat of ongoing harm from Defendants,” the relief sought is monetary, rather

than injunctive. Phillips v. Ellis, No. 2:24-cv-00235-JRS-MKK, 2024 U.S. Dist. LEXIS 223951,

*3 (S.D. Ind. Dec. 11, 2024).




                                                5
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 6 of 9 PageID #:562




       Here, six of the thirteen Defendants’ Walmart seller accounts were terminated before

Plaintiff sought its Motion for Entry of a Preliminary Injunction on May 5, 2025. (See

table below and Declarations in Support of Defendants’ Opposition, attached hereto as

Exhibit 3 to Exhibit 8). As a result, there is no continuing business operation by these

Defendants, and thus no continuing harm that requires an injunction.

 Defendants                                                    Terminated on
 FANGLIU Co.Ltd (terminated)                            April 10, 2025, Ex. 3, attach 3
 HENGPING Co.Ltd (terminated)                           April 16, 2025, Ex. 4, attach 3
 LIQUAN Co.Ltd (terminated)                             March 6, 2025, Ex. 5, attach 3
 LINGYANG Co.Ltd (terminated)                           March 31, 2025, Ex. 6, attach 3
 LONGSHI Co.Ltd (terminated)                             May 1, 2025, Ex. 7, attach 3
 ZUOYU Co.Ltd (terminated)                              April 11, 2025, Ex. 8, attach 3

       Further, the specific Walmart product listings have been removed or discontinued.

All thirteen Defendants, who were “piggyback sellers” offering products under existing Walmart

product listings, did not create or edit the now-removed listings to include Plaintiff’s artworks,

and therefore cannot continue to offer any allegedly infringing products.

       Therefore, with no credible threat of ongoing or future infringement, a preliminary

injunction is neither necessary nor appropriate. This conclusion is further underscored by

Plaintiff’s protracted delay in moving for injunctive relief after it first obtained evidence of the

alleged infringement.

       In short, nearly half of the Defendants no longer have operational Walmart seller

accounts, and all of the relevant listings have been taken down or discontinued — making it

impossible for these Defendants to continue any infringing activity. Because Plaintiff fails to

demonstrate any ongoing or imminent harm, it does meet its burden for extraordinary relief, and

its request for a preliminary injunction should therefore be denied.



                                                 6
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 7 of 9 PageID #:563




       B. The Asset Restrained Amount Far Exceeds Any Profits Potentially Subject to
          Equitable Relief

       The Supreme Court has made clear that courts lack the power to issue an asset freeze at

the beginning of a case, unless that party is seeking equitable monetary relief. See Grupo

Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308 (1999).

       “[T]he appropriate scope of prejudgment restraint must be limited only to what is

reasonably necessary to secure the (future) equitable relief.” Roadget Bus. Pte. Ltd. v.

Individuals, Corp., LLC, 735 F. Supp. 3d 981, 983 (N.D. Ill. 2024) (quoting Deckers Outdoor

Corp. v. P’ships & Unincorporated Ass’ns Identified on Schedule A, No. 13-cv-07621, 2013

U.S. Dist. LEXIS 205985, at *2 (N.D. Ill. Oct. 31, 2013)). Thus, “if the amount of the profits is

known, then the asset freeze should apply only to that specific amount, and no more.” Id.

       “Schedule A plaintiffs typically don't request and receive equitable monetary relief,” and

“Schedule A plaintiffs ask district courts to unfreeze the [restrained] money and award statutory

damages, not equitable relief.” Zorro Prods., Inc. v. Individuals, No. 23-cv-5761, 2023 U.S. Dist.

LEXIS 226550, at *10 (N.D. Ill. Dec. 20, 2023).

       Here, most Defendants made zero sales of the Accused Products. See Declarations in

Support of Defendants’ Opposition, Exhibit 3 to Exhibit 15. Even for the few who recorded

single-digit sales, the profits made from the Accused Products are de minimis. By contrast,

Plaintiff has demanded an asset freeze that restrains all funds in Defendants’ accounts, despite no

showing that such a sweeping freeze is necessary to secure the limited equitable remedy Plaintiff

purports to seek under 17 U.S.C. § 504(b) [Dkt. No. p.15]. This overreach runs counter to

well-established precedent limiting prejudgment restraints to amounts reasonably necessary to

cover potential equitable relief.




                                               7
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 8 of 9 PageID #:564




 Defendants                              Units Sold        Revenue             Amount Frozen
 FANGLIU Co.Ltd (terminated)                 0                 0                 $62,351.66
 HENGPING Co.Ltd (terminated)                0                 0                 $24,194.19
 LIQUAN Co.Ltd (terminated)                  0                 0                 $47,127.62
 LINGYANG Co.Ltd (terminated)                0                 0                 $88,282.41
 LONGSHI Co.Ltd (terminated)                 0                 0                 $74,141.37
 ZUOYU Co.Ltd (terminated)                   1              $13.31               $76,844.14
 PINGXIAO Co.Ltd                             0                 0                 $32,667.46
 SHUNDONG Co.Ltd                             0                 0                 $40,032.47
 YUNJIN Co.Ltd                               0                 0                 $21,682.41
 QIANSHAN Co.Ltd                             1               $7.29               $29,493.13
 CHUONI Co.Ltd                               2              $15.11               $96,485.72
 WEIRUN Co.Ltd                               2              $15.54               $93,935.02
 QUANLONG Co.Ltd                             5              $36.02                $4,138.22

       Since Defendants’ profits from the alleged infringement are nonexistent or minimal,

restraining significantly greater amounts is disproportionate and imposes an unfair burden on

Defendants. The practical effect of Plaintiff’s request is a de facto seizure of Defendants’ entire

business revenues —even though most of these funds have no nexus to the alleged infringement.

       Defendants acknowledge that their searches were conducted based on the specific

evidence Plaintiff provided in Exhibit 1. Should Plaintiff allege that Defendants sold other

infringing products not currently identified in Exhibit 1, Defendants would undertake an

additional search to determine whether any such sales exist. At this time, however, Defendants

have not identified any additional potentially infringing products, other than the ones already

disclosed in Exhibit 1.

       Under these circumstances, no basis exists for freezing amounts that far exceed any

plausible equitable accounting of profit. Should the Court opt to maintain any asset restraint, the

amount should be narrowly tailored to the specific, demonstrated amount of profit, if any, tied to

the infringing sales. Anything beyond that would be unwarranted.



                                                8
    Case: 1:25-cv-03991 Document #: 33 Filed: 05/12/25 Page 9 of 9 PageID #:565




                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiff’s

Motion for Entry of a Preliminary Injunction, and specifically the assert restraint.

       Defendants affirm that they will not sell or otherwise offer any of the products alleged by

Plaintiff to be infringing during the pendency of this litigation. Accordingly, there is no threat of

ongoing or imminent harm justifying injunctive relief, and the requested extraordinary relief

should be denied.



May 12, 2025,                                  Respectfully submitted,
                                               /s/ He Cheng
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                                                 9
